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EXHIBIT H-2
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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )    CIVIL ACTION: 01-CV-12257-PBS
                                                )
                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                        )
U.S. ex rel. Ven-A-Care of the Florida Keys,    )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al.       )
No. 06-CV-11337-PBS                             )

    NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE AND
                           MEDICAID SERVICES

       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, Abbott Laboratories, Inc. (“Abbott”) by its undersigned attorneys, will take the

deposition upon oral examination of one or more representatives of the Centers for Medicare and

Medicaid Services. This notice calls for testimony on the following topics originally set forth in

Abbott’s November 21, 2007 Letter:


       2.      CMS’s contemporaneous position during 1991-2003 concerning the meaning of
       AWP in any relevant Medicare or Medicaid statute or regulation, and the manner in
       which CMS and its carriers interpreted or implemented AWP in accordance with that
       position, including but not limited to:

               (a)    how CMS, its employees, agents, or carriers interpreted and applied the
               term “AWP” or “national average wholesale price” as used in 42 C.F.R. 405.517;

               (b)    how CMS, its employees, agents, or carriers interpreted and applied the
               term “AWP” or “Average Wholesale Price” as used in Section 4556 of the
               Balanced Budget Act of 1997, 42 U.S.C. § 1395u;

               (d)     whether CMS, its employees, agents, or carriers believed that “[t]he
               general concept that the AWP refers to the price at which a pharmaceutical firm
               or wholesaler sells a drug to its customers is commonly understood in the
               industry” (United States’ Objections and Responses to Defendant Abbott’s First
               Set of Interrogatories at 35 (12/4/2006));
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       3.    The manner in which CMS, its employees, agents, or carriers have interpreted or
       implemented the term “Average Wholesale Price” or “AWP” since the passage of the
       Medicare Prescription Drug Improvement and Modernization Act of 2003 (Pub. L. 108-
       173).


       The deposition will take place before a notary public, or any other officer authorized to

administer oaths, at Jones Day, 51 Louisiana Avenue, Washington, D.C. on October 15, 2009

beginning at 9:00 AM and continuing on successive days as necessary.

       Such deposition will be recorded by stenographic and/or sound and visual means. The

deposition is being taken for the purposes of discovery, for use at trial, and for such other

purposes as permitted under the Federal Rules of Civil Procedure.

Dated: September 30, 2009                         /s/ David S. Torborg
                                                 James R. Daly
                                                 Brian J. Murray
                                                 JONES DAY
                                                 77 West Wacker Drive, Suite 3500
                                                 Chicago, Illinois 60601
                                                 Telephone: (312) 782-3939
                                                 Facsimile: (312) 782-8585

                                                 R. Christopher Cook
                                                 David S. Torborg
                                                 JONES DAY
                                                 51 Louisiana Avenue, N.W.
                                                 Washington, D.C. 20001-2113
                                                 Telephone: (202) 879-3939
                                                 Facsimile: (202) 626-1700

                                                 Counsel for Defendant Abbott Laboratories, Inc.




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                                CERTIFICATE OF SERVICE

        I, David S. Torborg, an attorney, hereby certify that I caused a true and correct copy of
the foregoing NOTICE OF 30(B)(6) DEPOSITION OF THE CENTERS FOR MEDICARE
AND MEDICAID SERVICES to be served upon all counsel of record electronically by causing
same to be posted via LexisNexis this 30th day of September, 2009.



                                               /s/ David S. Torborg____
                                              David S. Torborg
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